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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ALLIANCE OF THE SOUTHEAST and
FRIENDS OF THE PARKS,

              Plaintiffs,                        No. 23 C 1524

       v.                                        Judge Thomas M. Durkin

UNITED STATES ARMY CORPS OF
ENGINEERS;

LIEUTENANT GENERAL SCOTT A.
SPELLMON, Chief of Engineers and
Commanding General, U.S. Army
Corps of Engineers;

BRIGADIER GENERAL KIMBERLY
PEEPLES, Commander and Division
Engineer, Great Lakes and Ohio River
Division, U.S. Army Corps of
Engineers; and

COLONEL PAUL CULBERSON,
Commander and District Engineer,
Chicago District, U.S. Army Corps of
Engineers,

              Defendants.

                        MEMORANDUM OPINION AND ORDER

      Plaintiffs bring a claim under the Administrative Procedure Act seeking

judicial review of the decision of the U.S. Army Corps of Engineers approving

construction of the Calumet Harbor Dredged Material Facility. See R. 81 at 1-2. The

Corps withdrew that decision on March 10, 2025. See R. 106-1 at 2 (¶ 5); R. 106-1 at

18. Defendants have moved to dismiss arguing that Plaintiffs cannot state a claim for
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review under the APA without the existence of a “final agency action.” See 5 U.S.C.

704. Defendants rely primarily on the Seventh Circuit’s decision in Driftless Area

Land Conservancy v. Rural Utilities Serv., 74 F.4th 489, 496 (7th Cir. 2023). In

Driftless, the Seventh Circuit reversed the district court’s grant on summary

judgment to the plaintiffs who objected to a federal agency’s decision granting a

certain permit because the agency revoked the decision after the case was filed in the

district court. The Seventh Circuit held that the case had to be dismissed because “a

revoked permit lacks legal consequence,” and therefore “a judicial decision is

premature.” See id. at 494.

      Plaintiffs argue that Driftless is inapposite because there “the agency relied on

an entirely different statutory provision to reinstate its action, thereby necessitating

an entirely new legal analysis and administrative record.” R. 108 at 11. Even if this

is an accurate analysis of the difference between the circumstances in Driftless and

in this case, that difference was not relevant to the Seventh Circuit’s reasoning in

ordering the case dismissed. The Seventh Circuit did not analyze the differences

between the revised administrative process compared to the original process. The

problem in Driftless was not that the revised process was too different from the

original process. The problem was that the administrative process was no longer

complete and embodied in a final decision. There is the same lack of a final decision

in this case as there was in Driftless, so this case also must be dismissed.

      Plaintiffs cite three cases that held that an agency’s withdrawal of the final

decision did not result in the need for dismissal of the claims under the APA. See



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United States v. Gov't of Virgin Islands, 363 F.3d 276, 291 (3d Cir. 2004); Eli Lilly &

Co. v. United States Dep't of Health & Hum. Servs., 2021 WL 5039566, at *15 (S.D.

Ind. Oct. 29, 2021); Malama Makua v. Rumsfeld, 136 F. Supp. 2d 1155, 1164 (D. Haw.

2001). Those courts held that the withdrawal of the final decision did not moot the

case because the agency could always reinstate the final decision. And in those cases,

the courts reached the merits of the claims under the APA despite the fact that the

final decision at issue had been withdrawn.

      Interestingly, the Seventh Circuit agrees with this analysis of whether the

APA claims are moot. In Driftless, the Seventh Circuit took care to explain that the

lack of a final decision did not mean that the case was moot. Rather, the Seventh

Circuit explained that the revoked permit did not moot the case because “an agency's

decision to change course does not moot a lawsuit when the change is not

implemented by statute or regulation and could be changed again.” 74 F.4th at 493.

The Seventh Circuit noted that the agency had “not promised to never issue a new

permit [in the future].” Id.

      But unlike the three cases Plaintiffs cite, the Seventh Circuit explained that

the fact that a live controversy survived withdrawal of the final decision did not mean

that the court could ignore the statutory requirement provided in the APA that the

decision to be adjudicated must be “final.” According to the Seventh Circuit, a

withdrawn decision cannot be final. To the extent the three other cases Plaintiffs cite

are to the contrary, they are not persuasive in the face of binding Seventh Circuit

precedent.



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      Notably, Plaintiffs have agreed to dismissal without prejudice under Federal

Rule of Civil Procedure 41. But Plaintiffs do not merely stipulate to dismissal under

Rule 41(a)(1)(A). Rather, they seek a Court order under Rule 41(a)(2) conditioning

dismissal on the Court ordering the Corps close and cap the existing dredged

materials site and never seek to expand that site. See R. 108-2 at 3. The problem with

this request is that the conditions Plaintiffs seeks amount to a permanent injunction

against the Corps. There is no basis for the Court to grant such relief. The purpose of

Rule 41(a)(2) is not to provide an opportunity for a plaintiff to set conditions on its

voluntary dismissal. Rather, the purpose of the Rule is for the Court to impose

conditions on the plaintiff’s dismissal to ensure that the dismissal is final. See

McCall-Bey v. Franzen, 777 F.2d 1178, 1184 (7th Cir. 1985).

      In any case, because a final administrative decision no longer exists that can

form the basis of a claim under the APA, Rule 12 and not Rule 41 is the proper vehicle

to dispose of this case. Defendants point out that “the Seventh Circuit has not offered

guidance on the appropriate mechanism to raise dismissal for lack of a final agency

action under the APA,” and they argue that “the Court should treat this argument as

a factual challenge to jurisdiction [under Rule 12(b)(1)] for purposes of identifying the

standard of review.” R. 106 at 4. But the Court certainly has subject matter

jurisdiction over claims brought pursuant to the APA. Instead, the Court finds that

this circumstance—the Corps’ withdrawal of the final decision—should be addressed

as a supplemental pleading under Federal Rule of Civil Procedure 15(d) (“On motion

and reasonable notice, the court may, on just terms, permit a party to serve a



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supplemental pleading setting out any transaction, occurrence, or event that

happened after the date of the pleading to be supplemented.”). With the withdrawal

of the final decision added as a supplemental pleading, the Court construes

Defendants’ motion as a motion for judgment on the pleadings under Federal Rule of

Civil Procedure 12(c). With the case dismissed under Rule 12(c), the Court certainly

cannot grant injunctive relief to Plaintiffs.

      Plaintiffs have “agreed” to dismissal “without prejudice.” But as discussed, this

“agreement” was conditioned on the Court’s imposition of certain conditions on the

Corps’ future activity. And for the reasons discussed, such conditions are not proper.

The “final decision” that formed the basis of Plaintiffs’ claims no longer exists. Any

future objection to any future decision by the Corps would create a new case or

controversy under the APA, and presumably a new lawsuit, not a continuation of this

case. Therefore, Defendants’ motion to dismiss [105] is granted and this case is

dismissed with prejudice.

                                                     ENTERED:


                                                     ______________________________
                                                     Honorable Thomas M. Durkin
                                                     United States District Judge
Dated: June 5, 2025




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